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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK (White Plains)
 HELLRING LINDEMAN GOLDSTEIN
  & SIEGAL LLP
 Richard B. Honig, Esq.
 Attorneys for ToMur Realty LLC
 One Gateway Center
 Newark, New Jersey 07102-5323
 973.621.9020
                                                                Case No. l8-22927-RDD
 In Re:
                                                                Chapter 11 Proceeding
 513 UNION LLC,
                                                                Honorable Robert D. Drain
                                 Debtors.


                                  NOTICE OF APPEARANCE

                 Please take notice that in accordance with Fed. R. Bankr. P. 9010(b) the

undersigned enters an appearance in this case on behalf of ToMur Realty LLC. Request is made

that the documents filed in this case and identified below be served on the undersigned at this

address:

          ADDRESS:      Richard B. Honig, Esq.
                        Hellring Lindeman Goldstein & Siegal LLP
                        One Gateway Center
                        Newark, New Jersey 07102-5323

          DOCUMENTS:
          ☒ All notices entered pursuant to Fed. R. Bankr. P. 2002.

          ☒ All documents and pleadings of any nature.

                                                                /s/ Richard B. Honig
 Dated: June 21, 2018                              _____________________________________
                                                            RICHARD B. HONIG



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